Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 1 of 16
 Case: 11-30987 Document: 00511658535 Page: 1 Date Filed: 11/07/2011
Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 2 of 16




                             No. 11-30987
                   _______________________________

                 IN THE UNITED STATES COURT OF APPEALS
                          FOR THE FIFTH CIRCUIT
                   _______________________________

          IN RE: CAMERON INTERNATIONAL CORPORATION
                   _______________________________

               On Petition for a Writ of Mandamus from the
      United States District Court for the Eastern District of Louisiana

                               MDL No. 2179
             In Re: Oil Spill by the Oil Rig Deepwater Horizon
                  In the Gulf of Mexico on April 20, 2010
                   _______________________________

                    THE STATE OF ALABAMA’S
            ANSWER IN SUPPORT OF THE DISTRICT COURT
                   _______________________________

                                   LUTHER STRANGE
                                   Attorney General

                                   COREY L. MAZE
                                   Special Deputy Attorney General

                                   WINFIELD J. SINCLAIR
                                   Assistant Attorney General

                                   OFFICE OF THE ATTORNEY GENERAL
                                   501 Washington Avenue
                                   Montgomery, AL 36130
                                   (334) 353-4336 (phone)
                                   (334) 242-4891 (fax)
                                   cmaze@ago.state.al.us

                                   Attorneys for the State of Alabama
  Case: 11-30987 Document: 00511658535 Page: 10 Date Filed: 11/07/2011
  Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 3 of 16




to sidestep the rules for interlocutory appeal, even if the writ is sought to preserve

the right to a jury trial. See In re El Paso Elec. Co., 77 F.3d 793 (5th Cir. 1996).

      2. OPA expressly allows general maritime claims: OPA is the governing

federal statute for oil pollution originating over the Outer Continental Shelf. OPA

allows injured parties to seek compensatory damages and removal costs via “OPA

claims” against enumerated Responsible Parties. On top of this liability baseline,

OPA expressly allows injured parties to seek additional liability/damages,

including both compensatory and punitive damages, directly from non-Responsible

Parties like Cameron under general maritime and/or state law. See 33 U.S.C.

§§2718(a), -2781(c), -2751(e). Because the private plaintiffs have raised such

claims against Cameron under general maritime law, and they elected to prosecute

these claims under Rule 9(h), the district court may try them to the bench pursuant

to its admiralty jurisdiction.

      Cameron tries to sidestep OPA’s liability scheme by focusing on 43 U.S.C.

§1333(a), a 1953 provision of OCSLA’s that allows the adoption of adjacent state

law to fill the gaps of federal law. But in light of Congress’ pollution-specific

amendments to OCSLA in 1978, then OPA’s replacement and repeal of OCSLA’s

pollution-specific provisions in 1990, §1333(a) is no longer relevant in determining

the appropriate body of federal law in oil pollution cases. OPA was clearly the

controlling federal law when this spill occurred in 2010, so determining what

                                          4
  Case: 11-30987 Document: 00511658535 Page: 11 Date Filed: 11/07/2011
  Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 4 of 16




Congress intended the controlling body of federal law to be in 1953 is pointless

and may lead to an answer that Congress jettisoned decades ago.

      3. The District Court’s Bench Trial Mirrors a Similar Pre-OPA Plan: The

district court’s plan for a limitation and liability bench trial closely mirrors the trial

plan executed after the pre-OPA oil spill by the M/V Alvenus. The plans match in

several important respects:

          • Both spills occurred on the Outer Continental Shelf, outside the

             State’s 3-mile jurisdictional border;

          • In both cases, the vessel owner filed a petition for exoneration from,

             or the limitation of, its liability;

          • In both cases, the injured parties filed negligence claims under general

             maritime law against the vessel owner, the voyage charterer, and

             multiple other parties;

          • In both cases, the trial court bifurcated the trial into two parts:

             “limitation and liability” and “damages”; and,

          • In both cases, the trial court ordered a bench trial in admiralty to

             decide the common issues of limitation and liability.

See In re Lloyd’s Leasing Ltd., 764 F.Supp. 1114, 1119-20 (S.D. Tex. 1990). The

Alvenus district court successfully executed this plan, see id., and this Court

applied general maritime law to some of the injured parties’ claims on appeal from

                                             5
  Case: 11-30987 Document: 00511658535 Page: 21 Date Filed: 11/07/2011
  Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 5 of 16




impose their own laws on top of OPA and vested State courts with concurrent

jurisdiction to “consider claims under this Act or State law.” See 33 U.S.C.

§§2717(c) (concurrent jurisdiction), 2718 (preservation of State law).

      Because Congress intended OPA to be the “single” federal statute governing

oil pollution cases, Congress had to conform the pre-existing federal statutes to

match OPA’s remedial scheme. See, e.g., P.L. 101-380, §§ 2001-03 (amending

portions of the CWA, the Deepwater Port Act, and the Intervention on the High

Seas Act); S. Rep. 101-94, pp. 24-25 (“Title III of the reported bill conforms the

provisions of various other laws to the provision of this Act.”). Relevant here,

Congress (1) repealed the pollution-specific OCSLA Title III in its entirety, see

P.L. 101-380, §2004 and (2) did nothing to the 1953 adjacent state law provision,

43 U.S.C. §1333(a).      The reason is simple: Section 1333(a)’s generic, “gap

filling” provision possessed no relevance in oil pollution cases.

      B. OPA Expressly Saves both General Maritime and State Law Claims
         for Concurrent Use with OPA Claims.

      In OPA, Congress changed very little with regard to the substantive law and

preemption analyses of OCSLA Title III.

      1. Preserving State Law Claims: Congress acknowledged that OCSLA Title

III expressly saved State law claims “for cleanup and damages caused by spills of

oil” over the Outer Continental Shelf and chose to continue that practice in OPA:



                                         15
  Case: 11-30987 Document: 00511658535 Page: 22 Date Filed: 11/07/2011
  Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 6 of 16




      More stringent State laws are specifically preserved in both the Clean
      Water Act (for cleanup of oil spills) and in the Deepwater Port Act
      and Title III of the Outer Continental Lands Act Amendments of 1978
      (for cleanup and damages caused by spills of oil). . . .

      The theory behind the Committee action is that the Federal statute is
      designed to provide basic protection for the environment and victims
      damaged by spills of oil. Any State wishing to impose a greater
      degree of protection for its own resources and citizens is entitled to do
      so. … [T]he Committee chose not to impose, arbitrarily, the
      constraints of the Federal regime on the States while at the same time
      preempting their rights to their own laws.

S. Rep. 101-94, p.6 (emphasis added). Demonstrating that commitment, Congress

passed three savings clauses regarding State law. The first preserves a State’s right

to “impos[e] any additional liability or requirements” regarding “pollution by oil

within such State,” 33 U.S.C. §2718(a)(1), and is nearly identical to OCSLA’s

now-defunct savings clause, 43 U.S.C. §1820(c) (repealed). The second clarifies

that OPA cannot be “construed or interpreted to affect or modify in any way the

obligations or liabilities of any person under … State law.” 33 U.S.C. §2718(a)(2).

The third preserves a State’s right to “impose, or determine the amount of, any fine

or penalty (whether criminal or civil in nature).” 33 U.S.C. §2718(c).

      The Supreme Court has stated that these provisions accomplished their task:

“The evident purpose of the saving clauses is to preserve state laws which, rather

than imposing substantive regulation of a vessel’s primary conduct, establish

liability rules and financial requirements relating to oil spills. . . . The saving

clauses, in parallel manner, permit States to impose liability or requirements
                                         16
  Case: 11-30987 Document: 00511658535 Page: 23 Date Filed: 11/07/2011
  Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 7 of 16




‘relating to the discharge, or substantial threat of a discharge, of oil.’” United

States v. Locke, 529 U.S. 89, 105 (2000).

      2. Preserving Maritime Law Claims: Congress similarly preserved the

viability of admiralty and general maritime law claims, and the district courts’

admiralty jurisdiction to hear those claims:

      Savings Provision

      (e) Admiralty and maritime law
      Except as otherwise provided in the Act, this Act does not affect—

      (1) Admiralty and maritime law

      (2) The jurisdiction of the district courts of the United States with respect to
          civil actions under admiralty and maritime jurisdiction, saving to suitors
          all other remedies to which they are otherwise entitled.

33 U.S.C. §2751(e).       As it did with State law claims, Congress expressly

recognized that preserving general maritime claims and admiralty jurisdiction

preserved the status quo in oil pollution cases:

      Article III, clause 2, of the Constitution creates the basis for admiralty
      and maritime law of the United States. This section is intended to
      clarify that the House Bill does not supersede that law, nor does it
      change the jurisdiction of the District Courts [citations omitted]. . . .

      It is not the intent of the Conferees to change the jurisdiction in
      incidents that are within the admiralty and maritime laws of the
      United States.

H. Rep. 101-653 (Conf. Report), p. 159.




                                          17
  Case: 11-30987 Document: 00511658535 Page: 24 Date Filed: 11/07/2011
  Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 8 of 16




      3. OPA+ Liability Regime: Taken together, OPA works largely as OSCLA

Title III did before it. OPA sets the liability baseline. Both state law and general

maritime law are then available to impose additional liability, on top of the OPA

baseline:

      The theory behind the Committee action is that the Federal statute is
      designed to provide basic protection for the environment and victims
      damaged by spills of oil. Any State wishing to impose a greater
      degree of protection for its own resources and citizens is entitled to do
      so.

S. Rep. 101-94, p.6. The following simple equation shows the building blocks of

liability under OPA, with the “ * ” indicating application only to the extent that the

law adds to, and does not conflict with, OPA liability:

        OPA
      + General maritime law*
      + Damaged State’s law *
       --------------------------
        Liability for Damages

The Court need not take our word for it. Here’s how the Senate described the

multiple avenues of liability for a Responsible Party under OPA:

      The owner or operator of a vessel shall be liable in accordance with
      this section [OPA], and section 311 of the Clean Water Act, under
      maritime tort law, and as provided in section 106 of the reported bill
      [i.e. the state-law savings clauses].

S. Rep. 101-94, p.14. We address how this equation applies to non-Responsible

Parties like Cameron in Part II(C), infra at 20-23.



                                         18
  Case: 11-30987 Document: 00511658535 Page: 25 Date Filed: 11/07/2011
  Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 9 of 16




       4. Location’s Lost Relevance: Because OPA is so clear, Cameron and the

other MDL Defendants refer courts back to §1333(a)—i.e. the original 1953

adjacent state law provision of OCSLA—to dodge liability under general maritime

law and/or state law.     Cameron drops its ‘OCSLA trumps OPA’ preemption

argument in a footnote to its petition:

       OPA itself permits States to impose ‘additional liability’ to the extent
       that they have jurisdiction to regulate a particular oil pollution event.
       33 U.S.C. §2718. But here, state law is preempted by OCSLA, so the
       savings clause is immaterial.

Petition at 24, n.6.

       To be right, the Defendants must show that because this Spill originated over

the OCS, Congress intended a 57-year-old statutory preemption analysis to apply

on top of OPA 1990, an analysis that would eliminate the state and/or general

maritime law claims that Congress went out of its way to preserve in OPA.

       Congress, however, eschewed varying liability and preemption schemes

based on the location of the spill. Again, Congress crafted OPA to be the “single

Federal law providing cleanup authority, penalties, and liability for oil pollution.”

S. Rep. 101-94, p.9. When explaining why jettisoning location for uniformity was

necessary, Congress named OCSLA as a primary source of the problem:

       In addition to the Clean Water Act, title III of the Outer Continental
       Shelf Lands Act Amendments, the Deepwater Ports Act, and the
       Trans-Alaska Pipeline Authorization Act, all play a role in oil spill
       liability and compensation. But they provide varying and uneven
       liability standards and scope of coverage for cleanup costs and
                                          19
  Case: 11-30987 Document: 00511658535 Page: 26 Date Filed: 11/07/2011
 Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 10 of 16




       damages associated with activities covered by each individual law.
       Moreover, this array of narrowly defined programs can create
       administrative problems as well.          As a result, the goal of
       compensating those injured may be complicated by questions of
       jurisdiction of the various Federal agencies. For example, when an oil
       spill occurs it may be necessary to track down the source of the spill
       before the applicable statute is applied and compensation claims
       presented.

Id. at 3-4.   Congress was clearly frustrated with different rules for different spill

locations. So Congress passed OPA to ensure that location no longer matters.

OPA reigns, and no elder statute can put OPA’s liability regime asunder. See

United States v. EX-USS Cabot/Dedalo, 297 F.3d 378, 385 n.31 (5th Cir. 2002)

(“the Oil Pollution Act of 1990 contains a detailed and comprehensive scheme

governing liability for oil-pollution prevention and cleanup”) (citations omitted).

       C. Numerous Injured Parties Have Pleaded Viable Claims Against
          Cameron under General Maritime Law.

       As shown below, numerous injured parties have pleaded viable claims

against Cameron under general maritime law, as allowed by OPA, and they have

elected to prosecute those claims under Rule 9(h). Accordingly, the district court

may properly try those claims without a jury under its admiralty jurisdiction.

       1. Compensatory Damages:        We agree with Cameron that OPA allows

injured parties to seek the entirety of their compensatory damages from the

enumerated “Responsible Parties” under strict liability, and those Responsible

Parties can in turn seek contribution and indemnification from non-Responsible

                                          20
  Case: 11-30987 Document: 00511658535 Page: 27 Date Filed: 11/07/2011
 Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 11 of 16




Parties like Cameron. See 33 U.S.C. §§2709-10. And perhaps some Plaintiffs, in

some cases, will choose to do it that way.

       But the district court was right; nothing in OPA limits general maritime

claims to “Responsible Parties.” Petition App. A at 25. OPA preserves the right to

raise any claim under general maritime law that preexisted OPA. As the district

court rightly noted, and as we demonstrate in Part III with a case directly on-point,

see infra 25-29, injured parties could “seek redress directly from non-Responsible

Parties” before OPA by pleading negligence claims under general maritime law.

OPA expressly preserved claimants’ rights to continue doing so if they choose.4

       2. Punitive Damages: The post-OPA viability of general maritime claims

for punitive damages is even clearer. Like the CWA, OPA neither awards nor

denies punitive damages. So, like the CWA, OPA allows punitive damages to be

sought via claims under general maritime law (or state law) from all parties,

regardless of whether they were named OPA Responsible Parties.

       In the Exxon Valdez case, the Supreme Court held that injured parties could

seek punitive damages under general maritime law; that is, §311 of the CWA did

not displace maritime claims for punitive damages. See Exxon Shipping Co. v.

Baker, 554 U.S. 471, 488-489 (2008). As it drafted OPA in the wake of the Exxon


   4
     For example, if the named Responsible Party was insolvent, and the non-Responsible Party
possessed a higher degree of fault and had the ability to pay all damages, claimants might choose
to sue the non-Responsible Party directly under maritime or state law.
                                               21
  Case: 11-30987 Document: 00511658535 Page: 28 Date Filed: 11/07/2011
 Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 12 of 16




Valdez, the Senate noted that “[t]he body of law already established under section

311 of the Clean Water Act is the foundation of [OPA].” S. Rep. 101-94, p.4.

      If (a) OPA was founded on the CWA §311 and its supporting caselaw,

(b) Supreme Court precedent establishes that punitive damages could be brought

under maritime law in addition to liability under the CWA §311, and (c) OPA

expressly saves pre-existing admiralty and maritime law claims, then injured

parties can still raise punitive damage claims under maritime law, post-OPA.

      It would be passing strange to think that the OPA Congress eliminated an

injured party’s preexisting right to seek punitive damages under general maritime

law without saying so. Again, the point of OPA was to increase, not decrease,

injured parties’ rights to recovery after the Exxon Valdez, especially when the spill

was caused by gross negligence or willful misconduct.          See, e.g., 33 U.S.C.

§2704(c)(1)(A) (removing the Responsible Party’s limitation on liability if the

spill was caused by “gross negligence or willful misconduct”).

      3. The Private Plaintiffs’ Claims:      In the B(1) Master Complaint, see

Exhibits to Cameron’s Petition at 1-197, the private plaintiffs asserted claims of

“negligence,” ¶¶603-06, “gross negligence, willful misconduct, and reckless

disregard,” ¶636, and “strict liability for manufacturing or design defect,” ¶¶ 637-

58, against Cameron under general maritime law.          The district court denied

Cameron’s motion to dismiss these maritime claims with regard to claimants who

                                         22
  Case: 11-30987 Document: 00511658535 Page: 29 Date Filed: 11/07/2011
 Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 13 of 16




suffered personal injury. Petition App. A. at 26 (“general maritime claims that

existed before OPA may be brought directly against non-Responsible parties);

id. at 27 (“These Plaintiffs assert plausible claims for punitive damages against

Responsible and non-Responsible parties).        Because these claims are viable

against Cameron under maritime law, and the private plaintiffs elected to prosecute

them under Rule 9(h), the district court may properly try the claims without a jury

under its admiralty jurisdiction.

                                       ***

         In summary, Congress chooses whether or not to displace general maritime

law and/or preempt State law when it passes a statute. And Congress’ choice with

regard to liability for oil pollution has changed over the years, as Congress has

watched the increasing size and number of spills demonstrate the inadequacy of

contemporary law.      Leaving the CWA aside, the chart of the following page

demonstrates how an injured party’s choice of available claims has evolved with

regard to recovering damages for oil spills originating over the Outer Continental

Shelf:




                                        23
  Case: 11-30987 Document: 00511658535 Page: 34 Date Filed: 11/07/2011
 Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 14 of 16




      To be entitled to the writ, Cameron must show that it is “clear and

indisputable” that no one has pleaded viable claims under general maritime law

against it, and therefore the trial court erred by ordering a limitation and liability

bench trial that includes Cameron. Cheney v. U.S. District Court, 542 U.S. 367,

380-81 (2004). But how can the district court have clearly and indisputably erred

when (a) the district court is following a former limitation and liability bench trial

plan, nearly to a T, and (b) this Court implicitly agreed to the viability of general

maritime claims in that case by applying maritime law to the injured parties’

claims on appeal? While the M/V Alvenus trial does not authoritatively prove the

correctness of the trial court’s trial plan here, it does establish that the plan is not

“clearly and indisputably” wrong, and that is sufficient to deny the writ. Id.

                                         ***

      Like Cameron, Alabama asked for a jury trial in its original and amended

complaints. See, e.g., MDL 2179 Doc. 1872, at ¶¶ 37, 369-71 (Alabama’s first

amended complaint). After the common issues are tried in the limitation and

liability bench trial, Alabama reserves the right to press its request for a jury trial

on the remaining issue(s) of damages. See id.

      But requests do not control this mandamus proceeding; the law does.

Cameron cannot prove that the district court clearly and indisputably erred by

including it in an admiralty bench trial, as is required for the writ to issue

                                          28
  Case: 11-30987 Document: 00511658535 Page: 35 Date Filed: 11/07/2011
 Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 15 of 16




(assuming, arguendo, that mandamus is the proper vehicle for Cameron’s

argument). To the contrary, the district court’s plan to try the common issues of

limitation and liability to the bench is legally sound; it tracks similar complex

litigation plans from this Circuit; and frankly; it’s the best option for moving this

complex MDL forward in an expeditious manner.            See Manual for Complex

Litigation, Fourth, §22.93 at 466-68 (describing a “consolidated common issues

trial” as a viable option to “achieve greater efficiency and expedition is resolving

mass torts cases”).


                                   CONCLUSION

      The Court should deny Cameron’s petition on Issue I.              In order of

preference, we ask the Court to do so by either

      1. Rejecting Issue I on procedural grounds; or

      2. Rejecting Issue I on the merits, specifically eschewing or rejecting any

         argument that 43 U.S.C. §1333(a) displaces general maritime law or

         preempts State law.




                                         29
 Case: 11-30987 Document: 00511658535 Page: 36 Date Filed: 11/07/2011
Case 2:10-md-02179-CJB-DPC Document 12345-4 Filed 02/14/14 Page 16 of 16




                                 Respectfully submitted,

                                 LUTHER STRANGE
                                 Attorney General


                                  /S/ Corey L. Maze
                                 COREY L. MAZE
                                 Special Deputy Attorney General

                                 WINFIELD J. SINCLAIR
                                 Assistant Attorney General

                                 OFFICE OF THE ATTORNEY GENERAL
                                 501 Washington Avenue
                                 Montgomery, AL 36130
                                 (334) 353-4336 (phone)
                                 (334) 242-4891 (fax)
                                 cmaze@ago.state.al.us

                                 Attorneys for the State of Alabama




                                  30
